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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                        CASE NO. 18-23310-CIV-COOKE/GOODMAN

  GBS INVESTMENT GROUP,

  Plaintiff,

  v.

  UNITED SPECIALTY INSURANCE
  COMPANY,

  Defendant.
  ___________________________________/
               ORDER APPROVING & ADOPTING MAGISTRATE JUDGE’S
                        REPORT AND RECOMMENDATION
          THIS MATTER is before me upon the Omnibus Report and Recommendations of
  the Honorable Jonathan Goodman, U.S. Magistrate Judge [ECF No. 90], issued on August
  11, 2020. This case, which was removed to this Court in August of 2018, has had a long and
  meandering background; as a result, a brief summary is in order. This action arises out of
  an insurance contract dispute between Plaintiff GBS Investment Group (“GBS”) and its
  insurer United Specialty Insurance Company (“USIC”). See generally Second Am. Comp.
  Essentially, this dispute centers around the cause of certain water damage to GBS’s property
  and whether that water damage was covered under GBS’s insurance policy with USIC.
          On August 7, 2019, USIC filed a Motion for Sanctions against GBS and its
  attorneys, [ECF No. 55], in which USIC argued that it was entitled to sanctions because
  GBIS and its attorneys litigated this matter in bad faith. More specifically, in its Motion for
  Sanctions, USIC argued that GBS “perpetrat[ed] a fraud upon the court” that included the
  “alteration and destruction of documents, obstruction of discovery materials and evidence
  from a third-party witness, and prosecuting an undeniably frivolous lawsuit.” Mot. for
  Sanctions at 17.
          On October 31, 2019, I granted summary judgment in favor of USIC. [ECF No. 71].



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  Through my Summary Judgment Order, I found that the undisputed record evidence
  demonstrated that the water damage to GBS’s property was caused by wind driven rain (i.e.
  Hurricane Irma) and was thereby excluded from coverage under GBS’s insurance policy
  with USIC.1 After the grant of summary judgment in its favor, on November 13, 2019,
  USIC filed its Motion for Entitlement to Attorneys’ Fees and Non-Taxable Costs. [ECF No.
  72]. In order to correct a docketing error, on December 3, 2019, I granted USIC’s request to
  file an amended motion for entitlement to attorneys’ fees and non-taxable costs [ECF No.
  75]. In response, USIC, on December 23, 2019, filed its Amended Motion for Attorneys’
  Fees and Non-Taxable Expert Costs [ECF No. 77].
         On January 30, 2020, I referred both USIC’s Motion for Sanctions and USIC’s
  Amended Motion for Attorneys’ Fees and Non-Taxable Expert Costs to the Honorable
  Jonathan Goodman for a report and recommendation. [ECF No. 81]. As such, presently
  before me is Judge Goodman’s Omnibus Report and Recommendation (“R&R”) on USIC’s
  Motion for Sanctions and USIC’s Amended Motion for Attorneys’ Fees and Non-Taxable
  Expert Costs.
         In his R&R, Judge Goodman recommends that I grant in part and deny in part
  USIC’s Amended Motion for Attorney’s Fees incurred since October 29, 2018 pursuant to
  Florida Statutes § 768.79 and award USIC $55,007.10 in attorney’s fees (applying a 10%
  across-the-board reduction). Additionally, Judge Goodman, in his R&R, recommends that I
  grant in part and deny in part USIC’s motion for sanctions.
         I have reviewed USIC’s Motion for Sanctions and Amended Motion for Attorney’s
  Fees and Non-Taxable Expert Costs, the briefing and accompanying exhibits, Judge
  Goodman’s R&R, the record, and the relevant legal authorities. Having done so, I find
  Judge Goodman’s R&R to be clear, cogent, and compelling.
         Accordingly, Judge Goodman’s R&R [ECF No. 90] is APPROVED and ADOPTED
  as the Order of this Court. It is, therefore, ORDERED and ADJUDGED that USIC’s
  Amended Motion for Attorneys’ Fees is granted in part and denied in part. As such, pursuant

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    Notably, GBS did not file a memorandum of law in opposition to USIC’s Motion for
  Summary Judgment. Nor did GBS cite to any caselaw or policy language that countered
  USIC’s position. Instead, GBS only cited to a declaration prepared by its own expert which
  supported USIC’s position—that the property in question experienced water damage due to
  Hurricane Irma.


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  to Florida Statutes § 768.79, USIC is awarded $55,007.10 in attorney’s fees.
          It is also hereby ORDERED and ADJUDGED that USIC’s Motion for Sanctions is
  granted in part and denied in part. I, therefore, find Plaintiff ’s Counsel, Gregory Saldamando,
  to be responsible for half of USIC’s attorney’s fees incurred in bringing its Motion for
  Sanctions; moreover, because I find that GBS and Mr. Saldamando acted in bad faith in
  continuing to prosecute this lawsuit beyond July 29, 2019 (the date when GBS submitted an
  affidavit from its own expert stating that the damage was caused by Hurricane Irma), Mr.
  Saldamando and GBS are directed to split equally the cost of USIC’s attorney’s fees
  incurred since July 29, 2019.
          DONE and ORDERED in Chambers, at Miami, Florida, this 6th day of September
  2020.




  Copies furnished to:
  The Honorable Jonathan Goodman, U.S. Magistrate Judge
  Counsel of record




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